         Case 17-30132        Doc 224      Filed 04/09/18 Entered 04/09/18 10:13:36                 Desc Main
                                              Document Page 1 of 1
LOCAL FORM 12                                                                                                          12/2007


                                    UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF NORTH CAROLINA


In Re:                                                       )
                                                             )           Case No. 17−30132               FILED
TSI Holdings, LLC                                            )           Chapter 7                  U.S. Bankruptcy Court
                                                                                                    Western District of NC
                                                             )
                                     Debtor(s)               )                                          4/9/2018
                                                             )                                      Steven T. Salata, Clerk




                      NOTICE OF CASE SPECIFIC NAME AND/OR ADDRESS CHANGE
                                       11 U.S.C. § 342(e) AND
                                  LOCAL RULES 2002−1 and 3003−1

    Pursuant to 11 U.S.C § 342(e) and Local Rules 2002−1 and 3003−1, Paul M. Hattenhauer files this notice of address
to be used to provide notice in the above−captioned case. Paul M. Hattenhauer is aware that, pursuant to 11 U.S.C. §
342(e)(2), any notice in this case required to be provided to the creditor by the debtor or the court will not be provided
to the address designated herein until after five (5) days following receipt of this notice of address change by the court
and the debtor(s).



Current creditor name and address:
Name:              Paul M. Hattenhauer
Address 1:         Culp Elliott & Carpenter, P.L.L.C.
Address 2:         4401 Barclay Downs Dr., Ste. 200
Address 3:
Address 4:
City, State, Zip: Charlotte, NC 28209


Revised creditor name and address:

                     for payment purposes only
                     for notice purposes only
                     for both payment and notice purposes

Name:               Paul M. Hattenhauer
Address 1:          Culp Elliott & Carpenter, P.L.L.C.
Address 2:          6801 Morrison Boulevard, Suite 400
Address 3:          United States
Address 4:
City, State, Zip:   Charlotte, NC 28211



Authorization: Under penalty of perjury, I, the undersigned, affirm that I am authorized to request this address change.

Name and position: Paul M. Hattenhauer, Attorney/Partner

Signature: (Electronic filing deems the form signed by the creditor or authorized person)

Date: 4/9/2018
